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UNITED sTATES DISTRICT CoURT " ` D,C
WESTERN DISTRICT 0F TENNESSEE ~5 45
Eastern Division //-' 34
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UNITEI) sTATEs oF AMERICA » 03 /L,)’;§€/:t/@
-vs- case No. 1:05cr1002 -00 atl

COLLIS PAUL LANCASTER, JR.

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Aecordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
~ All purposes including trial and appeal
DONE and ORDERED in 111 South _Highland, Jackson, TN, this 3"1 day of May, 2005.

isan G.,L,,

S. THOMAS A`NDERSON
UNITED sTATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Ot`fice
Assistant Federal Public Det`ender

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10027 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

M. Dianne Srnothers

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J ames W. PoWell

U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

